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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-20450-CR-SCOLA

  UNITED STATES OF AMERICA

                   v.

  ALEX NAIN SAAB MORAN,

              Defendant.
  _________________________________________/

                         UNOPPOSED MOTION FOR A PROTECTIVE
                     ORDER REGULATING DISCLOSURE OF DISCOVERY
                    AND SENSITIVE INFORMATION CONTAINED THEREIN

            Pursuant to Federal Rule of Criminal Procedure 16(d), the United States of America files

  this motion for a protective order regulating disclosure of the discovery materials in this case and

  certain sensitive information contained therein (the “Discovery”). The United States has conferred

  with counsel for the defendant, who has confirmed that he has no objection to the relief sought

  herein.

            On July 25, 2019, a federal grand jury returned an indictment charging the Defendant, Alex

  Nain Saab Moran with one count of conspiracy to commit money laundering and seven substantive

  counts of money laundering (DE 1). Defendant, Alex Nain Saab Moran was detained in the

  Republic of Cabo Verde in June 2020 and was extradited to the United States on October 16, 2021.

  The seven substantive counts of money laundering were dismissed pursuant to assurances made to

  the Republic of Cabo Verde as part of the extradition process. (DE 63 & 64). On November 15,

  2021, the Standing Discovery Order was entered for the Defendant (DE 71). The Discovery

  includes documents and reports related to additional targets of ongoing law enforcement

  investigations, a co-defendant, other indicted individuals, cooperating witnesses, and personal
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  identifiable information (“PII”), such as names, addresses, social security numbers, bank account

  and routing numbers, dates of birth, email addresses (the “Sensitive Information”).

         The Government seeks protections that will not impede the Defendant’s ability to prepare

  for his defense, but merely will protect against the improper dissemination or use of the Sensitive

  Information. The United States respectfully submits that the equities favor this Court placing

  reasonable limitations on the way the defense may use the Sensitive Information in the discovery

  materials. Rule 16(d)(1) of the Federal Rules of Criminal Procedure provides that the Court “may,

  for good cause, deny, restrict, or defer discovery or inspection” of discovery materials.

         The Court has broad discretion to regulate and restrict discovery and the disclosure of

  discovery materials. See United States v. Campa, 529 F.3d 980, 995 (11th Cir. 2008) (recognizing

  the “broad authority of the district court to regulate discovery”); see also Alderman v. United

  States, 394 U.S. 165, 185 (1969) (“[T]he trial court can and should, where appropriate, place a

  defendant and his counsel under enforceable orders against unwarranted disclosure of the materials

  which they may be entitled to inspect.”).

         In light of the foregoing, the United States respectfully requests that the Court enter an

  order placing the following restrictions on the discovery materials to be made available to the

  Defendant in this case:

    1.   Counsel for the government and for the Defendant shall not provide the material responsive

         to the Standing Discovery Order to any person except as specified in the Court’s order or

         by prior approval of the Court.

    2.   The Defendant shall possess the material responsive to the Standing Discovery Order only

         as necessary for counsel to prepare the case.

    3.   Employees of the government or defense counsel may possess the material responsive to

         the Standing Discovery Order, but only as necessary to prepare the case.

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   4.    The defense shall not show or disseminate any of the Sensitive Information to anyone other

         than the named defendant, attorneys of record for the named defendant, U.S. attorneys

         working with the attorneys of record, and staff from that defense counsel’s law office, and

         U.S.-based paralegals, investigators, expert witnesses and interpreters working for that law

         office;

   5.    The defense and the defendant shall not disclose, whether orally or in writing, to anyone

         not covered by the Court’s order any information relating to a cooperating witness,

         confidential informant or on-going investigation;

   6.    The defense shall not show or disseminate any of the Sensitive Information to any foreign

         (non-U.S.) attorneys or other foreign individuals, other than the foreign attorney know to

         the parties as PD;

   7.    The defense shall not transmit any of the Sensitive Information outside of the United States;

   8.    To the extent it is necessary for a defendant to possess any of the Sensitive Information to

         assist in his defense, the defendant agrees not to show or disseminate any of the Sensitive

         Information to anyone else;

   9.    An individual who is not a defendant nor part of the defense team may be shown Sensitive

         Information if that individual created the Sensitive Information or had otherwise previously

         seen the Sensitive Information (including if the defense team has a good faith basis to

         believe that individual had previously seen the Sensitive Information), as in the case for

         example of an individual copied on an email message;

   10.   Third parties contracted by the government or the defense to provide expert analysis or

         testimony may possess the material responsive to the Standing Discovery Order, but only

         as necessary to prepare the case;



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    11.   Counsel for the Defendant shall ensure that the Defendant and any third party that obtains

          access to the material responsive to the Standing Discovery Order are provided a copy of

          the Court’s order. No third party that obtains access to or possession of the material

          responsive to the Standing Discovery Order shall retain such access or possession unless

          authorized by the Court’s order. Any third party that obtains access to or possession of the

          material responsive to the Standing Discovery Order shall promptly destroy or return the

          materials once the third party no longer requires access to or possession of the material

          responsive to the Standing Discovery Order to assist in the preparation of the case;

    12.   Upon entry of final order of the Court in this matter and conclusion of any direct appeals,

          counsel for the government and the Defendant shall destroy or cause to be destroyed all

          copies of the material responsive to the Standing Discovery Order, except that they may

          maintain copies in their closed case files following their ordinary procedures; and

    13.   Counsel for the government and for the Defendant shall promptly report any known

          violations of the Court’s order to the Court.

                  The undersigned has conferred with counsel for the Defendant and counsel for the

  Defendant has no objection to entry of the protective order sought.




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         WHEREFORE the United States of America respectfully moves this Court to issue the

  proposed Protective Order.


                               Respectfully submitted,

  JOSEPH S. BEEMSTERBOER                            JUAN ANTONIO GONZLEZ
  ACTING CHIEF, FRAUD SECTION                       UNITED STATES ATTORNEY

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